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9    UNITED STATES OF AMERICA
10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 17-00638-PSG

13             Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF TRIAL DATE AND
14                  v.                       (2) FINDINGS OF EXCLUDABLE TIME
                                             PERIODS PURSUANT TO SPEEDY TRIAL
15   ALEXANDER TORO HERNANDEZ,               ACT

16             Defendant.                    CURRENT TRIAL DATE:
                                             December 12, 2017
17                                           [PROPOSED] TRIAL DATE:
                                             March 6, 2018
18
                                             CURRENT STATUS CONFERENCE DATE:
19                                           November 27, 2017
                                             [PROPOSED] STATUS CONFERENCE DATE:
20                                           February 19, 2018
21                                           [PROPOSED] MOTION SCHEDULE:
                                             Motions Due: January 22, 2017
22                                           Oppositions Due: January 29, 2018
                                             Replies Due: February 12, 2018
23

24       Plaintiff United States of America, by and through its counsel
25   of record, the Acting United States Attorney for the Central District
26   of California and Assistant United States Attorney Roger A. Hsieh,
27   and defendant ALEXANDER TORO HERNANDEZ (“defendant”), both
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1    individually and by and through his counsel of record, Victor

2    Sherman, hereby stipulate as follows:

3        1.    The Indictment in this case was filed on October 6, 2017.

4    Defendant first appeared before a judicial officer of the court in

5    which the charges in this case were pending on September 26, 2017.

6    The Speedy Trial Act, 18 U.S.C. § 3161, originally required that the

7    trial commence on or before December 15, 2017.

8        2.    On October 18, 2017, the Court set a trial date of December

9    12, 2017, a status conference date of November 27, 2017, and a motion
10   schedule as follows: motions to be filed on October 30, 2017;

11   oppositions to be filed on November 6, 2017; and replies to be filed

12   on November 20, 2017.

13       3.    Defendant is detained pending trial. The parties estimate

14   that the trial in this matter will last approximately three days.

15       4.    By this stipulation, defendant moves to continue the trial

16   date to March 6, 2018, the status conference date to February 19,

17   2018, and the motion schedule as follows:        motions to be filed on or

18   before January 22, 2018; oppositions to be filed on or before January

19   29, 2018; and replies to be filed on or before February 12, 2018.
20   This is the first request for a continuance.

21       5.    Defendant requests the continuance based upon the following

22   facts, which the parties believe demonstrate good cause to support

23   the appropriate findings under the Speedy Trial Act:

24             a.    Defendant is charged with a violation of 21 U.S.C.

25   §§ 841(a)(1), (b)(1)(B)(i) (distribution of at least 100 grams of a

26   mixture containing heroin) and 21 U.S.C. § 841(a)(1), (b)(1)(A)(i)
27   (possession with intent to distribute at least one kilogram of a

28   mixture containing heroin ).      The government has produced over 1200

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1    pages of discovery to the defense, including investigative reports,

2    photographs, interview notes, returns from GPS and cell phone search

3    warrants, and IP address information related to specific United

4    States Postal Service tracking numbers.       The government has also

5    produced surveillance video and an audio recording on an interview

6    with defendant.

7              b.    Defense counsel represents that he is presently

8    scheduled to be in the following upcoming criminal trials in this

9    court and in state court: (1) People v. Singh, PA088307 (Los Angeles
10   Superior Court), currently set for trial within 30 days, and

11   estimated to last 4 days; (2) People v. Gonzalez, BAF1700713

12   (Riverside Superior Court), currently set for trial on November 28,

13   2017, and estimated to last 3 days; (3) United States v. Martinez, CR

14   17-00107-ODW, currently set for trial on December 5, 2017, and

15   estimated to last 5 days; (4) United States v. Nesoyan, CR 17-00325-

16   GW, currently set for trial on December 12, 2017, and estimated to

17   last 10 days; (5) United States v. Goucher, CR 07-1402-SJO, currently

18   set for trial on January 9, 2018, and estimated to last 7 days;

19   (6) United States v. Ambriz, CR 17-00106-PSG, currently set for trial
20   on January 16, 2018, and estimated to last 5-6 days; (7) United

21   States v. Iribe, CR 16-0070-GW, currently set for trial on January

22   23, 2018, and estimated to last 6 days; (8) People vs. Iribe,

23   BA441106 (Los Angeles Superior Court), currently set for trial on

24   January 30, 2018, and estimated to last 1-2 weeks; and (9) People vs.

25   Wijegoonaratna, RIF 0103899 (Riverside Superior Court), currently set

26   for trial on February 14, 2018, and estimated to last 1 week.
27   Accordingly, counsel represents that he will not be available to try

28   this case on the current trial date.

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1              c.    In light of the foregoing, counsel for defendant also

2    represents that additional time is necessary to confer with

3    defendant, conduct and complete an independent investigation of the

4    case, conduct and complete additional legal research including for

5    potential pre-trial motions, review the discovery and potential

6    evidence in the case, and prepare for trial in the event that a

7    pretrial resolution does not occur.       Defense counsel represents that

8    failure to grant the continuance would deny him reasonable time

9    necessary for effective preparation, taking into account the exercise
10   of due diligence.

11             d.    Defendant believes that failure to grant the

12   continuance will deny him continuity of counsel and adequate

13   representation.

14             e.    The government does not object to the continuance.

15             f.    The requested continuance is not based on congestion

16   of the Court’s calendar, lack of diligent preparation on the part of

17   the attorney for the government or the defense, or failure on the

18   part of the attorney for the government to obtain available

19   witnesses.
20       6.    For purposes of computing the date under the Speedy Trial

21   Act by which defendant’s trial must commence, the parties agree that

22   the time period of December 12, 2017, to March 6, 2018, inclusive,

23   should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

24   (h)(7)(B)(i), and (h)(7)(B)(iv) because the delay results from a

25   continuance granted by the Court at defendant’s request, without

26   government objection, on the basis of the Court’s finding that:
27   (i) the ends of justice served by the continuance outweigh the best

28   interest of the public and defendant in a speedy trial; (ii) failure

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1    to grant the continuance would be likely to make a continuation of

2    the proceeding impossible, or result in a miscarriage of justice; and

3    (iii) failure to grant the continuance would unreasonably deny

4    defendant continuity of counsel and would deny defense counsel the

5    reasonable time necessary for effective preparation, taking into

6    account the exercise of due diligence.

7          7.   Nothing in this stipulation shall preclude a finding that

8    other provisions of the Speedy Trial Act dictate that additional time

9    periods be excluded from the period within which trial must commence.
10   Moreover, the same provisions and/or other provisions of the Speedy

11   Trial Act may in the future authorize the exclusion of additional

12   time periods from the period within which trial must commence.

13         IT IS SO STIPULATED.

14   Dated: November 14, 2017            Respectfully submitted,

15                                       SANDRA R. BROWN
                                         Acting United States Attorney
16
                                         LAWRENCE S. MIDDLETON
17                                       Assistant United States Attorney
                                         Chief, Criminal Division
18

19                                             /s/
                                         ROGER A. HSIEH
20                                       Assistant United States Attorney

21                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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